         Entered on Docket February 7, 2019                   Below is the Order of the Court.




1                                                             _________________________
                                                              Timothy W. Dore
2                                                             U.S. Bankruptcy Court
                                                              (Dated as of Entered on Docket date above)
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8    TIMOTHY W. DORE
     United States Bankruptcy Judge
9    700 Stewart Street, Room 8106
     Seattle, WA 98101
10   (206) 370-5300

11
                             UNITED STATES BANKRUPTCY COURT
12                       WESTERN DISTRICT OF WASHINGTON AT SEATTLE
13
       In re:
14
       NAZARIO HERNANDEZ,                                 Bankruptcy No. 18-13392-TWD
15
                                      Debtor.
16
       NAZARIO HERNANDEZ,
17
                                                          Adversary No. 18-01159-TWD
                                      Plaintiff,
18
                v.
19                                                        ORDER DISMISSING THIS ADVERSARY
                                                          PROCEEDING
       FRANKLIN CREDIT MANAGEMENT
20
       CORPORATION and DEUTSCHE BANK
21
       NATIONAL TRUST COMPANY AS
       TRUSTEE FOR BOSCO CREDIT II TRUST
22     SERIES 2010-1,
                                      Defendants.
23

24          THIS MATTER came before the Court on the Defendants’ motion to dismiss [Docket No. 6]

25   (“Motion”). The Court has reviewed and considered the Motion, all documents submitted in support of


     ORDER DISMISSING THIS ADVERSARY PROCEEDING - 1



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1    and in opposition to the Motion, the records and files in this adversary proceeding and the oral argument

2    made at the February 6, 2019 hearing on the Motion. At the conclusion of that hearing, the Court stated

3    its reasons for granting the Motion.

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            Now, therefore, it is hereby ORDERED that this adversary proceeding is dismissed with

     prejudice.
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                                                /// End of Order ///
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     ORDER DISMISSING THIS ADVERSARY PROCEEDING - 2



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